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     EXHIBIT J
           Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 2 of 66 PageID #:1447
   From: Robert Dyckman
   Sent: Thursday, September 27, 2018 10:32 AM CDT
   To: Excell Brown <Excell.Brown@cityofchicago.org>
   Subject: Fw: hope this is ok
   Attachment(s): "ts Aban Hearing 092718.xls"




   From: John Dunn
   Sent: Thursday, September 27, 2018 10:30 AM
   To: Robert Dyckman
   Subject: RE: hope this is ok




   John Dunn
   Senior Operations Research Analyst
   Department of Streets & Sanitation
   Commissioner’s Office
   City Hall, Room 1107
   121 N. La Salle
   Chicago, Il 60602
   Phone 312 744 8326
   Cell Phone 312 257 1579
   john.dunn@cityofchicago.org

   From: Robert Dyckman
   Sent: Thursday, September 27, 2018 10:26 AM
   To: John Dunn <John.Dunn@cityofchicago.org>
   Subject: Re: hope this is ok

   Can you get it in an excel format?

   From: John Dunn
   Sent: Thursday, September 27, 2018 9:41:58 AM
   To: Robert Dyckman
   Cc: Steve Sorfleet
   Subject: hope this is ok



   John Dunn
   Senior Operations Research Analyst
   Department of Streets & Sanitation
   Commissioner’s Office
   City Hall, Room 1107
   121 N. La Salle
   Chicago, Il 60602
   Phone 312 744 8326
   Cell Phone 312 257 1579
   john.dunn@cityofchicago.org




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CONFIDENTIAL                                                                                                                    C063171
                                                      Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 3 of 66 PageID #:1448
          Hy            B          |         C            D_|                   E            E      |     Gc    |             H                      I           J         K           L

      2

|
3 18-02268265
      4    Service Request Nj Type                      Status   |Location           Created Date
      5        18-02268265         Abandoned Vehicle }Open       {3545 W 25TH ST.    Aug 01, 2018       Hold Hearing (if reg'd vehicle)                  Sep 25, 2018
      6
      7                                                                                                             mee)                                 Current Address       Current City
      8        7 Day Sticker Date Applied                        SEP 13, 2018
      9        License plate expiration (MM/YYYY)                04/2019
|
10 SST# 1800406235
     11        State that issued license plate                   Illinois
12
|  Tag expiration (MM/YYYY)
|
13 Vehicle license plate number fe
|
14 Vehicle Make/Model Hyundai
     15        Vehicle Tag Number
|
16 Vehicle Year 1998
|
17 What city issued vehicle tag number?
     18
     19

|
20 18-02273193
     21                                                 Status   |Location           Created Date
|
22 |18-02273193 [Abandoned Vehicle |}Open |53 ECULLERTON ST Aug 01, 2018 Hold Hearing (if reg'd vehicle)                                                 Sep 26, 2018
     23
     24                                                                                                             Current Name (Last, First, Ml)       Current Address       Current City
|
25 7 Day Sticker Date Applied SEP 14, 2018
|
26 License plate expiration (MM/YYYY) 02/2020
|
27 SST# 1800406329
|
28 State that issued license plate Texas
29
|  Tag expiration (MM/YYYY)
|
30 Vehicle license plate number
|
31 Vehicle Make/Model Toyota
32
|  Vehicle Tag Number
|
33 Vehicle Year
|
34 What city issued vehicle tag number?
     35
     36

|
37 18-02274839
     38                                                 Status   |Location           Created Date
|
39 [18-02274839 Abandoned Vehicle |Open {4223 W 82ND ST Aug 01, 2018 Hold Hearing (if reg'd vehicle)                                                     Sep 28, 2018
     40
     41                                                                                                             Current Name (Last, First, Ml)       Current Address       Current City
|
42 7 DaySticker Date Applied SEP 18, 2018
|
43 License plate expiration (MM/YYYY) 06/2019
|
44 SST# 1800406380
|
45 State that issued license plate Illinois
|
46 Tag expiration (MM/YYYY)
|
47 Vehicle license plate number P|
|
48 Vehicle Make/Model Ford
|
49 Vehicle Tag Number
|
50 Vehicle Year 2017
     51        What city issued vehicle tag number?
     52
     53

|
54 18-02275536
     55            i                                    Status   |Location           Created Date
     56        18-02275536         Abandoned Vehicle    {Open    |3804 N DRAKE AVE   Aug 01, 2018       Hold Hearing (if reg'd vehicle)                  Sep 28, 2018


                                                                                                               one




  CONFIDENTIAL                                                                                                                                                                                C063172
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CONFIDENTIAL                                                                                       C063173
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          ni            B          |          Cc       |     D_     |                E       |           F      |     c    |             H            |         ]   |           J         |
    57
58                                                                                                                             eee               a)                     eine                  Current City
|
59 7 Day Sticker Date Applied SEP 18, 2018
|
60 License plate expiration (MM/YYYY) 03/2019
    61         SST#                                                     1800406383
    62         State that issued license plate                          Illinois
|
63 Tag expiration (MM/YYYY)
|
64 Vehicle license plate number
|
65 Vehicle Make/Model Honda
|
66 Vehicle Tag Number
|
67 Vehicle Year 2006
|
68 What city issued vehicle tag number?
    69
    70

|
71 18-02280259
    72                                                     Status       |Location                Created Date
    73         18-02280259         Abandoned Vehicle       {Open        |2316 S LEAVITT ST       Aug 02, 2018       Hold Hearing (if reg'd vehicle)                     Oct 02, 2018
    74
    75                                                                                                                         eens)                                    eee                   Current City
|
76 7 Day Sticker Date Applied SEP 20, 2018
|
77 License plate expiration (MM/YYYY) 03/2019
|
78 SST# 1800406475
|
79 State that issued license plate Illinois
|
80 Tag expiration (MM/YYYY)
|
81 Vehicle license plate number FY
|
82 Vehicle Make/Model Dodge
|
83 Vehicle Tag Number
|
84 Vehicle Year 1998
|
85 What city issued vehicle tag number?
    86
    87

|
gg 18-02284306
|
89 Status Location Created Date
_|
90 |18-02284306 Abandoned Vehicle |Open {2837 W BERTEAU AVE Aug 02, 2018 Hold Hearing (if reg'd vehicle) Sep 24, 2018
    91
    92                                                                                                                         Current Name (Last, First, Ml)           Current Address       Current City
|
93 7 Day Sticker Date Applied SEP 12, 2018


|
95 SST# 1800406214
|
96 State that issued license plate Illinois
|
97 Tag expiration (MM/YYYY)
    98         Vehicle license plate number
|
99 Vehicle Make/Model Oldsmobile
|
100 Vehicle Tag Number
|
101 Vehicle Year 2002
102
|   What city issued vehicle tag number?
    103
    104

|
105 18-02287875
                                                           Status       |Location                Created Date
|
_
107 |18-02287875 Abandoned Vehicle }Open {1743 NWASHTENAW AVE |Aug 02, 2018 Hold Hearing (if reg'd vehicle)                                                             Oct 02, 2018
    108
109                                                                                                                            Current Name (Last, First, Ml)           ec                    Current City
|
110 7 Day Sticker Date Applied SEP 20, 2018
|
111 License plate expiration (MM/YYYY) 09/2018
|
112 SST# 1800406476
|
113 State that issued license plate Illinois

                                                                                                                          one




  CONFIDENTIAL                                                                                                                                                                                               C063174
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                                                      one




CONFIDENTIAL                                                                                       C063175
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           W       B    |      C       |
|
114 Tag expiration (MM/YYYY)
|
115 Vehiclelicenseplatenumber a
|
116 Vehicle Make/Model or
117
|   Vehicle Tag Number
|
118 Vehicle Year 2000
|
119 What city issued vehicle tag number?
     120
     121

|
122 18-02287962
     123                                   Status   |Location       Created Date
|
_
124 |18-02287962 Abandoned Vehicle }Open {2832 N WASHTENAW AVE |Aug 02, 2018 Hold Hearing (if reg'd vehicle)              Sep 25, 2018
     125
     126                                                                                 eek               a)             ele               Current City
|
127 7 DaySticker Date Applied SEP 13, 2018
|
128 License plate expiration (MM/YYYY) 06/2019
|
129 SST# 1800406250
|
130 State that issued license plate Illinois
|
131 Tag expiration (MM/YYYY)
|
132 Vehicle license plate number
|
133 Vehicle Make/Model Honda
134
|   Vehicle Tag Number
|
135 Vehicle Year 1976
136
|   What city issued vehicle tag number?
     137
     138

|
139 18-02290305
|
Service Request N| Type Status Location Created Date
|
141 |18-02290305 Abandoned Vehicle |Open {8108 S EVANS AVE Aug 03, 2018 Hold Hearing (if reg'd vehicle)                   Oct 05, 2018
     142
     143                                                                                 Current Name (Last, First, Ml)   Current Address   Current City
|
144 7 Day Sticker Date Applied SEP 25, 2018
|
145 License plate expiration (MM/YYYY) 09/2018
|
146 SST# 1800406564
|
147 State that issued license plate Illinois
|
148 Tag expiration (MM/YYYY)
|
149 Vehicle license plate number P|
|
150 Vehicle Make/Model Dodge
|
151 Vehicle Tag Number UNKNOWN
|
152 Vehicle Year 2002
|
153 What city issued vehicle tag number? CHICAGO
     154
     155

|
156 18-02296568
     157       i                           Status   |Location       Created Date
|
158 |18-02296568 Abandoned Vehicle |Open {4349 N WHIPPLE ST Aug 03, 2018 Hold Hearing (if reg'd vehicle)                  Sep 24, 2018
     159
     160                                                                                 eek)                             eels              Current City
|
161 7 Day Sticker Date Applied SEP 12, 2018
|
162 License plate expiration (MM/YYYY) 01/2019
|
163 SST# 1800406215
|
164 State that issued license plate Illinois
165
|   Tag expiration (MM/YYYY)
|
166 Vehicle license plate number Pe
|
167 Vehicle Make/Model Dodge
|
168 Vehicle Tag Number
|
169 Vehicle Year 2005
|
170 What city issued vehicle tag number?

                                                                                       one




  CONFIDENTIAL                                                                                                                                             C063176
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CONFIDENTIAL                                                                                       C063177
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     171
     172

|
173 18-02300307
     174                                     Status   |Location         Created Date
|
175 |18-02300307 Abandoned Vehicle |Open {6312 S WHIPPLE ST Aug 04, 2018 Hold Hearing (if reg'd vehicle)                       Sep 28, 2018
     176
177                                                                                            Current Name(Last, First, Ml)   ec             eee
|
178 7 Day Sticker Date Applied SEP 18, 2018
|
179 License plate expiration (MM/YYYY) 11/2018
|
180 SST# 18406376
]
181 State that issued license plate Illinois
|
182 Tag expiration (MM/YYYY)
|
183 Vehiclelicenseplatenumber a
|
184 Vehicle Make/Model ontiac
|
185 Vehicle Tag Number
|
186 Vehicle Year 2007
|
187 What city issued vehicle tag number?
     188
     189

|
190 18-02300365
     191                                     Status   |Location         Created Date
|
192 18-02300365 Abandoned Vehicle |Open {6318 S WHIPPLE ST Aug 04, 2018 Hold Hearing (if reg'd vehicle)                        Sep 28, 2018
     193
     194                                                                                       eI       eek ee a)              eee            eee
|
195 7 Day Sticker Date Applied SEP 18, 2018
|
196 License plate expiration (MM/YYYY) 09/2018
|
197 SST# 1800406377
|
198 State that issued license plate Illinois
199
|   Tag expiration (MM/YYYY)
|
200 Vehicle license plate number PF
|
201 Vehicle Make/Model Buick
202
|   Vehicle Tag Number
|
203 Vehicle Year 2006
|
204 What city issued vehicle tag number?
     205
     206

|
207 18-02301383
                                             Status   |Location         Created Date
|
209 18-02301383 Abandoned Vehicle |Open {5501 S MONITOR AVE Aug 04, 2018 Hold Hearing (if reg'd vehicle)                       Sep 24, 2018
     210
     211                                                                                       eens)                           erences        ere
|
212 7 Day Sticker Date Applied SEP 12, 2018
|
213 License plate expiration (MM/YYYY) 09/2018
|
214 SST# 1800406202
|
215 State that issued license plate Illinois
|
216 Tag expiration (MM/YYYY)
|
217 Vehicle license plate number
|
218 Vehicle Make/Model eep/Cherokee
|
219 Vehicle Tag Number
|
220 Vehicle Year 2001
|
221 What city issued vehicle tag number?
     222
     223

|
204 18-02302112
                                             Status   |Location         Created Date
           18-02302112   Abandoned Vehicle   {Open    |3112 W EDDY ST   Aug 04, 2018   Hold Hearing (if reg'd vehicle)         Sep 25, 2018


                                                                                            one




  CONFIDENTIAL                                                                                                                                      C063178
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CONFIDENTIAL                                                                                        C063179
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           HY   B       |      Cc      |                     E       |          F       Lc    ]             H           |          ]   |           J         |   K   |           L
     227
     228
|
229 7 Day Sticker Date Applied SEP 13, 2018


|
231 SST# 1800406253
|
232 State that issued license plate Illinois
|
233 Tag expiration (MM/YYYY)
|
234 Vehicle license plate number
|
235 Vehicle Make/Model Jeep/Cherokee
|
236 Vehicle Tag Number
|
237 Vehicle Year 2001
|
238 What city issued vehicle tag number?
     239
     240

|
241 18-02302145
                                        Status   |Location               Created Date
|
243 |18-02302145 Abandoned Vehicle }Open {2523 W ARMITAGE AVE Aug 04, 2018 Hold Hearing (if reg'd vehicle)                                 Oct 02, 2018
     244
     245                                                                                          Current Name (Last, First, Ml)           Current Address               Current City
|
246 7 Day Sticker Date Applied SEP 20, 2018
|
247 License plate expiration (MM/YYYY) 02/2019
|
248 SST# 1800406477
|
249 State that issued license plate Michigan
|
250 Tag expiration (MM/YYYY)
|
251 Vehicle license plate number
|
252 Vehicle Make/Model Ford
|
253 Vehicle Tag Number
|
254 Vehicle Year 2011
|
255 What city issued vehicle tag number?
     256
     257

|
258 18-02302194
|
Status Location Created Date
|
260 18-02302194 Abandoned Vehicle |Open {5614 S KOLMAR AVE Aug 04, 2018 Hold Hearing (if reg'd vehicle)                                    Sep 24, 2018
     261
     262                                                                                          eens)                                    eee                           Current City
|
263 7 Day Sticker Date Applied SEP 12, 2018
|
264 License plate expiration (MM/YYYY) 06/2019
|
265 SST# 1800406198
|
266 State that issued license plate Illinois
|
267 Tag expiration (MM/YYYY)
|
268 Vehicle license plate number Ps
|
269 Vehicle Make/Model Chevrolet
|
270 Vehicle Tag Number
|
271 Vehicle Year 1999
272
|   What city issued vehicle tag number?
     273
     274

|
275 18-02304092
|
Status Location Created Date
|
277 |18-02304092 Abandoned Vehicle }Open {4040 W 60TH ST. Aug 05, 2018 Hold Hearing (if reg'd vehicle)                                     Sep 24, 2018
     278
279                                                                                               Current Name (Last, First, Ml)           ec                            Current City
|
280 7 Day Sticker Date Applied SEP 12, 2018
|
281 License plate expiration (MM/YYYY) 11/2018
|
282 SST# 1800406196
|
283 State that issued license plate Illinois

                                                                                             one




  CONFIDENTIAL                                                                                                                                                                          C063180
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                                                      one




CONFIDENTIAL                                                                                        C063181
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           Hy       B        |        Cc     [pd      ]               E          F       [   c    |             H                      |           J         K     L
|
284 Tag expiration (MM/YYYY)
285 Vehiclelicenseplatenumber
|                             a
|
286 Vehicle Make/Model or
287
|   Vehicle Tag Number
|
288 Vehicle Year 2007
|
289 What city issued vehicle tag number?
     290
     291

|
292 18-02304238
                                             Status       |Location       Created Date
|
294 18-02304238 Abandoned Vehicle |Open {3716 S WABASH AVE Aug 05, 2018 Hold Hearing (if reg'd vehicle)                                    Sep 26, 2018
     295
     296
|
297 7 Day Sticker Date Applied SEP 14, 2018


|
299 SST# 1800406328
|
300 State that issued license plate Illinois
|
301 Tag expiration (MM/YYYY)
|
302 Vehicle license plate number
|
303 Vehicle Make/Model Lincoln
304
|   Vehicle Tag Number
|
305 Vehicle Year 2011
306
|   What city issued vehicle tag number?
     307
     308

|
309 18-02304617
            Service Request Nj Type          Status       |Location       Created Date
|
311 18-02304617 Abandoned Vehicle |Open {3035 W SCHUBERT AVE Aug 05, 2018 Hold Hearing (if reg'd vehicle)                                  Sep 28, 2018
     312
313                                                                                                   Current Name (Last, First, Ml)       eis                   eee
|
314 7 Day Sticker Date Applied SEP 18, 2018
|
315 License plate expiration (MM/YYYY) 09/2019
|
316 SST# 1800406384
|
317 State that issued license plate Illinois
|
318 Tag expiration (MM/YYYY)
|
319 Vehicle license plate number P
|
320 Vehicle Make/Model Hyundai
|
321 Vehicle Tag Number
|
322 Vehicle Year 2008
|
323 What city issued vehicle tag number?
     324
     325

|
326 18-02304848
                                             Status       |Location       Created Date
|
328 18-02304848 Abandoned Vehicle |Open {4023 N LOWELL AVE Aug 05, 2018 Hold Hearing (if reg'd vehicle)                                    Sep 27, 2018
     329
     330                                                                                              Current Name (Last, First, Ml)       ee          css       eee
|
331 7 Day Sticker Date Applied SEP 17, 2018
|
332 License plate expiration (MM/YYYY) 11/2018
|
333 SST# 1800406348
|
334 State that issued license plate Illinois
335
|   Tag expiration (MM/YYYY)
336
|   Vehicle license plate number
|
337 Vehicle Make/Model           Toyota
|
338 Vehicle Tag Number
|
339 Vehicle Year 1999
|
340 What city issued vehicle tag number?

                                                                                                 one




  CONFIDENTIAL                                                                                                                                                         C063182
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CONFIDENTIAL                                                                                        C063183
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           18-02305413
                                             Status   {Location             Created Date
|
345 18-02305413 Abandoned Vehicle |Open {4459 S DRAKE AVE Aug 05, 2018 Hold Hearing (if reg'd vehicle)                              Sep 25, 2018
     346
347                                                                                                Current Name (Last, First, Ml)   eee            Current City
|
348 7 Day Sticker Date Applied SEP 13, 2018
|
349 License plate expiration (MM/YYYY) 06/2019
|
350 SST# 1800406240
|
351 State that issued license plate Illinois
|
352 Tag expiration (MM/YYYY)
|
353 Vehicle license plate number
|
354 Vehicle Make/Model Ford
|
355 Vehicle Tag Number
|
356 Vehicle Year 2003
|
357 What city issued vehicle tag number?
     358
     359

|
360 18-02317095
     361                                     Status   |Location             Created Date
|
362 18-02317095 Abandoned Vehicle |Open {1908 W FLETCHER ST Aug 06, 2018 Hold Hearing (if reg'd vehicle)                            Sep 28, 2018
     363
     364                                                                                           eee                  a)          ete            Current City
|
365 7 Day Sticker Date Applied SEP 18, 2018
|
366 License plate expiration (MM/YYYY) 09/2018
|
367 SST# 1800406385
|
368 State that issued license plate Illinois
369
|   Tag expiration (MM/YYYY)
|
370 Vehicle license plate number P|
|
371 Vehicle Make/Model Jeep/Cherokee
372
|   Vehicle Tag Number
|
373 Vehicle Year 1998
|
374 What city issued vehicle tag number?
     375
     376

377 18-02317192
|
                                             Status   |Location             Created Date
|
379 |18-02317192 Abandoned Vehicle |Open {4543 S HERMITAGE AVE Aug 06, 2018 Hold Hearing (if reg'd vehicle)                         Oct 04, 2018
     380
381                                                                                                eek                 ae)          eae            Current City
|
382 7 Day Sticker Date Applied SEP 24, 2018
|
383 License plate expiration (MM/YYYY) 11/2018
|
384 SST# 1800406537
|
385 State that issued license plate Illinois
|
386 Tag expiration (MM/YYYY)
|
387 Vehicle license plate number
|
388 Vehicle Make/Model Chevrolet
|
389 Vehicle Tag Number
|
390 Vehicle Year 2004
|
391 What city issued vehicle tag number?
     392
     393

|
394 18-02317615
                                             Status   {Location             Created Date
           18-02317615   Abandoned Vehicle   {Open    |10023 S FOREST AVE   Aug 06, 2018   Hold Hearing (if reg'd vehicle)          Oct 01, 2018


                                                                                                one




  CONFIDENTIAL                                                                                                                                                    C063184
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CONFIDENTIAL                                                                                        C063185
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           ni       B   |      Cc      |     D_     |               E   |          F       |   c    |             H           |          ]   |           J         |   K   |     L
     397
     398
|
399 7 Day Sticker Date Applied SEP 19, 2018


|
401 SST# 1800406443
|
402 State that issued license plate Illinois
|
403 Tag expiration (MM/YYYY)
|
404 Vehicle license plate number
|
405 Vehicle Make/Model Chevrolet
|
406 Vehicle Tag Number
|
407 Vehicle Year 2008
|
408 What city issued vehicle tag number?
    409
    410

|
411 18-02322396
                i                          Status       |Location           Created Date
|
413 |18-02322396 Abandoned Vehicle |Open |2410 W MORSE AVE Aug 07, 2018 Hold Hearing (if reg'd vehicle)                                          Sep 25, 2018
    414
415                                                                                                     Current Name (Last, First, Ml)           ee          ics               eee
|
416 7 Day Sticker Date Applied SEP 13, 2018
|
417 License plate expiration (MM/YYYY) 09/2018
|
418 SST# 1800406228
|
419 State that issued license plate Illinois
|
420 Tag expiration (MM/YYYY)
|
421 Vehicle license plate number PY
|
422 Vehicle Make/Model Pontiac
|
423 Vehicle Tag Number
|
424 Vehicle Year 2000
|
425 What city issued vehicle tag number?
    426
    427

|
428 18-02323707
                                           Status       |Location           Created Date
|
430 |18-02323707 Abandoned Vehicle |Open [5534 S MORGAN ST Aug 07, 2018 Hold Hearing (if reg'd vehicle)                                          Sep 21, 2018
    431
    432
|
433 7 Day Sticker Date Applied SEP 11, 2018


|
435 SST# 1800406163
|
436 State that issued license plate Illinois
|
437 Tag expiration (MM/YYYY)
|
438 Vehicle license plate number
|
439 Vehicle Make/Model Ford
|
440 Vehicle Tag Number
|
441 Vehicle Year 2007
|
442 What city issued vehicle tag number?

    443
    444

|
445 18-02323809
                                           Status       |Location           Created Date
|
447 |18-02323809 Abandoned Vehicle }Open |8247 S HARPER AVE Aug 07, 2018 Hold Hearing (if reg'd vehicle)                                         Sep 28, 2018
    448
449                                                                                                     Current Name (Last, First, Ml)           eee                           eee
|
450 7 DaySticker Date Applied SEP 18, 2018
|
451 License plate expiration (MM/YYYY) 12/2019
|
452 SST# 1800406389
|
453 State that issued license plate Illinois

                                                                                                   one




  CONFIDENTIAL                                                                                                                                                                       C063186
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CONFIDENTIAL                                                                                        C063187
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           Hy       B        |        Cc     [pd      ]               E          F       [   c    |             H                      |           J         K           L
|
454 Tag expiration (MM/YYYY)
|
455 Vehicle license plate number Pe
|
456 Vehicle Make/Model Dodge
457
|   Vehicle Tag Number
|
458 Vehicle Year 1998
|
459 What city issued vehicle tag number?
     460
     461

|
462 18-02328938
                                             Status       |Location       Created Date
|
464 18-02328938 Abandoned Vehicle |Open {1917 N CLEVELAND AVE Aug 07, 2018 Hold Hearing (if reg'd vehicle)                                 Sep 26, 2018
     465
|
466 LaGe sells fen) Ue                                                                                Current Name (Last, First, Ml)       Current Address       Current City
|
467 7 DaySticker Date Applied SEP 14, 2018
|
468 License plate expiration (MM/YYYY) 04/2019
|
469 SST# 1800406306
|
470 State that issued license plate Illinois
|
471 Tag expiration (MM/YYYY)
|
472 Vehicle license plate number
|
473 Vehicle Make/Model Oldsmobile
474
|   Vehicle Tag Number
|
475 Vehicle Year 1998
476
|   What city issued vehicle tag number?
     477
     478

|
479 18-02329010
            Service Request N| Type          Status       |Location       Created Date
|
481 |18-02329010 Abandoned Vehicle }Open {9104 S INDIANA AVE Aug 07, 2018 Hold Hearing (if reg'd vehicle)                                  Oct 04, 2018
     482
     483
|
484 7 Day Sticker Date Applied SEP 24, 2018
|
485 License plate expiration (MM/YYYY) 03/2019
|
486 SST# 1800406543
|
487 State that issued license plate Illinois
|
488 Tag expiration (MM/YYYY)
|
489 Vehiclelicenseplatenumber rare
|
490 Vehicle Make/Model evrolet
|
491 Vehicle Tag Number
|
492 Vehicle Year 2007
|
493 What city issued vehicle tag number?
     494
     495

|
496 18-02333976
                                             Status       |Location       Created Date
|
498 |18-02333976 Abandoned Vehicle }Open {6003 W 64TH PL Aug 08, 2018 Hold Hearing (if reg'd vehicle)                                      Sep 24, 2018
     499
     500
|
501 7 Day Sticker Date Applied SEP 12, 2018
|
502 License plate expiration (MM/YYYY) 10/2018


|
504 State that issued license plate Illinois
505
|   Tag expiration (MM/YYYY)
506 Vehicle license plate number
|                                fF
|
507 Vehicle Make/Model Hyundai
|
508 Vehicle Tag Number
|
509 Vehicle Year 2006
|
510 What city issued vehicle tag number?

                                                                                                 one




  CONFIDENTIAL                                                                                                                                                                  C063188
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CONFIDENTIAL                                                                                        C063189
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           18-02336393
|
Status Location Created Date
|
515 18-02336393 Abandoned Vehicle |Open |3228 W BYRON ST Aug 08, 2018 Hold Hearing (if reg'd vehicle)                            Sep 24, 2018
     516
517                                                                                             Current Name (Last, First, Ml)   eee               Current City
|
518 7 Day Sticker Date Applied SEP 12, 2018
|
519 License plate expiration (MM/YYYY) 09/2018
|
520 SST# 1800406216
|
521 State that issued license plate Illinois
|
522 Tag expiration (MM/YYYY)
|
523 Vehicle license plate number a
|
524 Vehicle Make/Model e
|
525 Vehicle Tag Number
|
526 Vehicle Year 2002
527
|   What city issued vehicle tag number?
     528
     529

|
530 18-02337671
     531      i                              Status   |Location          Created Date
|
532 |18-02337671 Abandoned Vehicle }Open {3155 W 62ND ST Aug 08, 2018 Hold Hearing (if reg'd vehicle)                            Sep 21, 2018
     533
     534                                                                                        eee                  a)          ete               Current City
|
535 7 Day Sticker Date Applied SEP 11, 2018
|
536 License plate expiration (MM/YYYY)
|
537 SST# 1800406166
|
538 State that issued license plate Illinois
539
|   Tag expiration (MM/YYYY)
|
540 Vehicle license plate number P|
|
541 Vehicle Make/Model Suzuki
542
|   Vehicle Tag Number
|
543 Vehicle Year 2002
|
544 What city issued vehicle tag number?
     545
     546

547 18-02339129
|
                                             Status   |Location          Created Date
|
549 18-02339129 Abandoned Vehicle |Open {5840 S CLAREMONT AVE Aug 08, 2018 Hold Hearing (if reg'd vehicle)                       Sep 21, 2018
     550
     551                                                                                        Current Name (Last, First, Ml)   Current Address   Current City
|
552 7 Day Sticker Date Applied SEP 11, 2018
|
553 License plate expiration (MM/YYYY) 03/2019
|
554 SST# 1800406165
|
555 State that issued license plate Illinois
|
556 Tag expiration (MM/YYYY)
|
557 Vehicle license plate number
|
558 Vehicle Make/Model Toyota
|
559 Vehicle Tag Number
|
560 Vehicle Year 1997
|
561 What city issued vehicle tag number?
     562
     563

|
564 18-02339933
                                             Status   |Location          Created Date
           18-02339933   Abandoned Vehicle   {Open    |1802 W BYRON ST   Aug 08, 2018   Hold Hearing (if reg'd vehicle)          Sep 21, 2018


                                                                                             one




  CONFIDENTIAL                                                                                                                                                    C063190
               Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 22 of 66 PageID #:1467




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CONFIDENTIAL                                                                                        C063191
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           n    B              C       [pb      |               E   |          F       |   G    |
     567
     568                                                                                            Current Name (Last, First, Ml)   Current Address   Current City
|
569 7 Day Sticker Date Applied SEP 11, 2018
|
570 License plate expiration (MM/YYYY) 03/2019
|
571 SST# 1800406150
|
572 State that issued license plate Illinois
|
573 Tag expiration (MM/YYYY)
|
574 Vehicle license plate number
|
575 Vehicle Make/Model Jeep/Cherokee
|
576 Vehicle Tag Number
|
577 Vehicle Year 2007
|
578 What city issued vehicle tag number?
     579
     580

|
581 18-02340452
|
Status Location Created Date
|
583 |18-02340452 Abandoned Vehicle {Open |3310 N OSAGE AVE Aug 08, 2018 Hold Hearing (if reg'd vehicle)                              Sep 24, 2018
     584
585                                                                                                 eens)                            eee               Current City
|
586 7 Day Sticker Date Applied SEP 12, 2018
|
587 License plate expiration (MM/YYYY) 04/2019
|
588 SST# 1800406192
|
589 State that issued license plate Illinois
|
590 Tag expiration (MM/YYYY)
|
591 Vehicle license plate number
|
592 Vehicle Make/Model Subaru
|
593 Vehicle Tag Number
|
594 Vehicle Year 2007
|
595 What city issued vehicle tag number?
     596
     597

|
598 18-02343111
|
Status Location Created Date
|
600 |18-02343111 Abandoned Vehicle |Open {2033 N ALBANY AVE Aug 09, 2018 Hold Hearing (if reg'd vehicle)                             Oct 01, 2018
     601
     602                                                                                            Current Name (Last, First, Ml)   Current Address   Current City
|
603 7 Day Sticker Date Applied SEP 19, 2018


|
605 SST# 1800406445
|
606 State that issued license plate Michigan
|
607 Tag expiration (MM/YYYY)
|
608 Vehicle license plate number
|
609 Vehicle Make/Model Ford
|
610 Vehicle Tag Number
|
611 Vehicle Year                         2008
612
|   What city issued vehicle tag number?
     613
     614

|
615 18-02343261
                                       Status       |Location           Created Date
|
617 |18-02343261 Abandoned Vehicle }Open {556 W GRANT PL Aug 09, 2018 Hold Hearing (if reg'd vehicle)                                Sep 26, 2018
     618
619                                                                                                 Current Name(Last, First, Ml)    ec                Current City
|
620 7 Day Sticker Date Applied SEP 14, 2018


|
622 SST# 1800406310
|
623 State that issued license plate Illinois

                                                                                               one




  CONFIDENTIAL                                                                                                                                                        C063192
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CONFIDENTIAL                                                                                        C063193
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           Hy   B       |      C       |                     E              F       |   Gc    |             H                              J              L
|
624 Tag expiration (MM/YYYY)
|
625 Vehicle license plate number |
|
626 Vehicle Make/Model Nissan
627
|   Vehicle Tag Number
|
628 Vehicle Year 2004
|
629 What city issued vehicle tag number?
     630
     631

632 18-02343332
|
                                        Status   |Location           Created Date
|
634 |18-02343332 Abandoned Vehicle |Open {2717 W ST HELEN ST Aug 09, 2018 Hold Hearing (if reg'd vehicle)                          Oct 02, 2018
     635
     636                                                                                          eee)                             ele            Current City
|
637 7 Day Sticker Date Applied SEP 20, 2018
|
638 License plate expiration (MM/YYYY) 04/2019
|
639 SST# 1800406478
|
640 State that issued license plate Illinois
641
|   Tag expiration (MM/YYYY)
|
642 Vehicle license plate number
|
643 Vehicle Make/Model Jeep - Year Greater 1988
644
|   Vehicle Tag Number
|
645 Vehicle Year 2000
646
|   What city issued vehicle tag number?
     647
     648

|
649 18-02348807
|
Service Request N| Type Status Location Created Date
|
651 18-02348807 Abandoned Vehicle }Open {4016 S ALBANY AVE Aug 09, 2018 Hold Hearing (if reg'd vehicle)                            Sep 28, 2018
     652
653                                                                                               Current Name (Last, First, Ml)   eyes           Current City
|
654 7 Day Sticker Date Applied SEP 18, 2018
|
655 License plate expiration (MM/YYYY) 09/2019
|
656 SST# 1800406372
|
657 State that issued license plate Illinois
|
658 Tag expiration (MM/YYYY)
|
659 Vehiclelicenseplatenumber rm
|
660 Vehicle Make/Model ontiac
|
661 Vehicle Tag Number
|
662 Vehicle Year 1985
|
663 What city issued vehicle tag number?
     664
     665

|
666 18-02348990
|
Status Location Created Date
|
668 |18-02348990 Abandoned Vehicle |Open {3404 W 78TH ST Aug 09, 2018 Hold Hearing (if reg'd vehicle)                              Oct 01, 2018
     669
     670                                                                                          eek)                             eels           Current City
|
671 7 Day Sticker Date Applied SEP 19, 2018


|
673 SST# 1800406436
|
674 State that issued license plate Illinois
675
|   Tag expiration (MM/YYYY)
|
676 Vehicle license plate number
|
677 Vehicle Make/Model General Motors Corp.
|
678 Vehicle Tag Number
|
679 Vehicle Year 2012
|
680 What city issued vehicle tag number?

                                                                                             one




  CONFIDENTIAL                                                                                                                                                   C063194
               Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 26 of 66 PageID #:1471




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CONFIDENTIAL                                                                                        C063195
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|
683 18-02350415
                                       Status   |Location           Created Date
|
685 18-02350415 Abandoned Vehicle }Open {9635 S HARVARD AVE Aug 09, 2018 Hold Hearing (if reg'd vehicle)                  Oct 02, 2018
     686
687                                                                                      Current Name (Last, First, Ml)   eee            eee
|
688 7 Day Sticker Date Applied SEP 20, 2018


|
690 SST# 1800406470
|
691 State that issued license plate Illinois
692
|   Tag expiration (MM/YYYY)
693
|   Vehicle license plate number
|
694 Vehicle Make/Model Chevrolet
|
695 Vehicle Tag Number
|
696 Vehicle Year 1998
|
697 What city issued vehicle tag number?
     698
     699

|
700 18-02353653
     701     i                         Status   |Location           Created Date
|
702 |18-02353653 Abandoned Vehicle |Open {7138 W 63RD PL Aug 10, 2018 Hold Hearing (if reg'd vehicle)                     Sep 24, 2018
     703
     704                                                                                 CP eek ea)                       eee            eee
|
705 7 Day Sticker Date Applied SEP 12, 2018


|
707 SST# 1800406205
|
708 State that issued license plate Illinois
709
|   Tag expiration (MM/YYYY)
710 Vehiclelicenseplatenumber
|                             a
711
|   Vehicle Make/Model nfinith
712
|   Vehicle Tag Number
|
713 Vehicle Year 2001
|
714 What city issued vehicle tag number?
     715
     716

717 18-02354856
|
                                       Status   |Location           Created Date
|
719 |18-02354856 Abandoned Vehicle |Open {9624 S YATES AVE Aug 10, 2018 Hold Hearing (if reg'd vehicle)                   Sep 25, 2018
     720
     721                                                                                 er eens)                         erences        ere
|
722 7 Day Sticker Date Applied SEP 13, 2018
|
723 License plate expiration (MM/YYYY) 02/2019
|
724 SST# 1800406241
|
725 State that issued license plate Illinois
|
726 Tag expiration (MM/YYYY)
|
727 Vehicle license plate number f
|
728 Vehicle Make/Model Mercury
|
729 Vehicle Tag Number
|
730 Vehicle Year 1999
|
731 What city issued vehicle tag number?
     732
     733

|
734 18-02355124
|
Status Location Created Date
|
_
736 |18-02355124 Abandoned Vehicle {Open |6706 S WINCHESTER AVE {Aug 10, 2018 Hold Hearing (if reg'd vehicle)             Sep 21, 2018


                                                                                       one




  CONFIDENTIAL                                                                                                                                 C063196
               Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 28 of 66 PageID #:1473




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CONFIDENTIAL                                                                                        C063197
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           Hy    B       |      C       |                    E       |          E       |   Gc    |            H           |          I   |           J      |   K   |     L
     137
     738                                                                                              Current Name(Last, First, Ml)           ees                        eer
|
739 7 Day Sticker Date Applied SEP 11, 2018
|
740 License plate expiration (MM/YYYY) 11/2018
|
741 SST# 1800406164
|
742 State that issued license plate Illinois
|
743 Tag expiration (MM/YYYY)
|
744 Vehicle license plate number
|
745 Vehicle Make/Model Hyundai
|
746 Vehicle Tag Number
|
747 Vehicle Year 2013
|
748 What city issued vehicle tag number?
     749
     750

|
751 18-02355422
                                        Status   |Location               Created Date
|
753 |18-02355422 Abandoned Vehicle {Open |1710 W OHIO ST Aug 10, 2018 Hold Hearing (if reg'd vehicle)                                         Sep 25, 2018
     754
     755
|
756 7 Day Sticker Date Applied SEP 13, 2018
|
757 License plate expiration (MM/YYYY)
|
758 SST# 1800406251
|
759 State that issued license plate Illinois
|
760 Tag expiration (MM/YYYY)
|
761 Vehicle license plate number |
|
762 Vehicle Make/Model Pontiac
|
763 Vehicle Tag Number
|
764 Vehicle Year 2002
|
765 What city issued vehicle tag number?
     766
     767

|
768 18-02363067
                                        Status   |Location               Created Date
|
770 |18-02363067 Abandoned Vehicle |Open {1324 S CLAREMONT AVE Aug 11, 2018 Hold Hearing (if reg'd vehicle)                                   Sep 27, 2018
     771
     772
|
773 7 Day Sticker Date Applied SEP 17, 2018
|
774 License plate expiration (MM/YYYY) 03/2019
|
775 SST# 1800406351
|
776 State that issued license plate Illinois
|
777 Tag expiration (MM/YYYY)
|
778 Vehicle license plate number
|
779 Vehicle Make/Model Infiniti/M30
|
780 Vehicle Tag Number
|
781 Vehicle Year 2010
782
|   What city issued vehicle tag number?
     783
     784

|
785 18-02364855
                                        Status   |Location               Created Date
|
787 |18-02364855 Abandoned Vehicle }Open {2131 W SCHILLER ST Aug 11, 2018 Hold Hearing (if reg'd vehicle)                                     Oct 01, 2018
     788
789                                                                                                   Current Name(Last, First, Ml)           eee                        eee
|
790 7 Day Sticker Date Applied SEP 19, 2018
|
791 License plate expiration (MM/YYYY)
|
792 SST# 1800406439
|
793 State that issued license plate Illinois

                                                                                                 one




  CONFIDENTIAL                                                                                                                                                                 C063198
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CONFIDENTIAL                                                                                        C063199
                                                  Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 31 of 66 PageID #:1476
           W           B          |           C
               Tag expiration (MM/YYYY)
               Vehicle license plate number
               Vehicle Make/Model
               Vehicle Tag Number
               Vehicle Year
               What city issued vehicle tag number?




               18-02365012
                                                      Status   |Location   Created Date
|
_
804 18-02365012 Abandoned Vehicle }Open |7036 S WASHTENAW AVE |Aug 11, 2018 Hold Hearing (if reg'd vehicle)                  Sep 28, 2018
     805
     806                                                                                    eee)                             ele            Current City
|
807 7 Day Sticker Date Applied SEP 18, 2018
|
808 License plate expiration (MM/YYYY) 01/2019
|
809 SST# 1800406379
|
810 State that issued license plate Illinois
811
|   Tag expiration (MM/YYYY)
|
812 Vehicle license plate number PY
]
813 Vehicle Make/Model Ford
814
|   Vehicle Tag Number
|
815 Vehicle Year 1984
816
|   What city issued vehicle tag number?
     817
     818

|
819 18-02368001
           Service Request Nj Type                    Status   |Location   Created Date
|
821 18-02368001 Abandoned Vehicle }Open {1869 S MILLARD AVE Aug 12, 2018 Hold Hearing (if reg'd vehicle)                     Sep 26, 2018
     822
823                                                                                         Current Name (Last, First, Ml)   eis            Current City
|
824 7 Day Sticker Date Applied SEP 14, 2018


|
826 SST# 1800406325
|
827 State that issued license plate Illinois
|
828 Tag expiration (MM/YYYY)
|
829 Vehicle license plate number
|
830 Vehicle Make/Model Dodge
|
831 Vehicle Tag Number
|
832 Vehicle Year 2010
|
833 What city issued vehicle tag number?
     834
     835

|
336 18-02374488
|
Status Location Created Date
|
838 18-02374488 Abandoned Vehicle }Open {6237 S KEDVALE AVE Aug 13, 2018 Hold Hearing (if reg'd vehicle)                     Sep 24, 2018
     839
     840                                                                                    eek)                             eels           Current City
|
841 7 Day Sticker Date Applied SEP 12, 2018
|
842 License plate expiration (MM/YYYY) 08/2019
|
843 SST# 1800406194
|
844 State that issued license plate Illinois
845
|   Tag expiration (MM/YYYY)
|
846 Vehicle license plate number
|
847 Vehicle Make/Model Infinit/Q45
|
848 Vehicle Tag Number
|
849 Vehicle Year 2005
|
850 What city issued vehicle tag number?

                                                                                          one




  CONFIDENTIAL                                                                                                                                             C063200
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CONFIDENTIAL                                                                                        C063201
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|
353 18-02374683
                                        Status   |Location           Created Date
|
855 18-02374683 Abandoned Vehicle }Open {6219 W SUNNYSIDE AVE Aug 13, 2018 Hold Hearing (if reg'd vehicle)                 Sep 25, 2018
     856
857                                                                                       Current Name (Last, First, Ml)   eee            eee
|
858 7 Day Sticker Date Applied SEP 13, 2018


|
860 SST# 180406230
|
861 State that issued license plate Illinois
862
|   Tag expiration (MM/YYYY)
863 Vehiclelicenseplatenumber
|                             a
864
|   Vehicle Make/Model evrole
865
|   Vehicle Tag Number
|
866 Vehicle Year 2008
|
867 What city issued vehicle tag number?
     868
     869

|
370 18-02376381
     871     i                          Status   |Location           Created Date
|
872 |18-02376381 Abandoned Vehicle |Open [5913 S KEDVALE AVE Aug 13, 2018 Hold Hearing (if reg'd vehicle)                  Sep 24, 2018
     873
     874                                                                                  eee           ea)                eee            eee
|
875 7 Day Sticker Date Applied SEP 12, 2018
|
876 License plate expiration (MM/YYYY) 12/2018
|
877 SST# 1800406197
|
878 State that issued license plate Illinois
879
|   Tag expiration (MM/YYYY)
|
880 Vehicle license plate number Po
|
881 Vehicle Make/Model Honda
882
|   Vehicle Tag Number
|
883 Vehicle Year 1999
|
884 What city issued vehicle tag number?
     885
     886

87 18-02377399
|
                                        Status   |Location           Created Date
|
889 18-02377399 Abandoned Vehicle |Open {7744 S ST LOUIS AVE Aug 13, 2018 Hold Hearing (if reg'd vehicle)                  Sep 28, 2018
     890
891                                                                                       Current Name (Last, First, Ml)   neice          eee
|
892 7 Day Sticker Date Applied SEP 18, 2018
|
893 License plate expiration (MM/YYYY) 06/2019
|
894 SST# 1800406381
|
895 State that issued license plate Illinois
896
|   Tag expiration (MM/YYYY)
|
897 Vehicle license plate number
|
898 Vehicle Make/Model Oldsmobile
|
899 Vehicle Tag Number
|
900 Vehicle Year 1995
|
901 What city issued vehicle tag number?
     902
     903

|
904 18-02377758
                                        Status   {Location           Created Date
|
906 18-02377758 Abandoned Vehicle {Open |6510 W 63RD ST Aug 13, 2018 Hold Hearing (if reg'd vehicle)                       Sep 24, 2018


                                                                                        one




  CONFIDENTIAL                                                                                                                                  C063202
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CONFIDENTIAL                                                                                        C063203
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           ni       B     |   Cc      |     D_     |               E   |          F       |   c    |             H           |          ]   |           J         |   K   |           L
    907
    908
|
909 7 Day Sticker Date Applied SEP 12, 2018
|
910 License plate expiration (MM/YYYY) 02/2019
|
911 SST# 1800406204
|
912 State that issued license plate Illinois
|
913 Tag expiration (MM/YYYY)
|
914 Vehicle license plate number
|
915 Vehicle Make/Model Ford
|
916 Vehicle Tag Number
|
917 Vehicle Year 1998
|
918 What city issued vehicle tag number?
    919
    920

    g21|        18-02379798
|
Status Location Created Date
|
923 18-02379798 Abandoned Vehicle {Open |4756 W WALTON ST Aug 13, 2018 Hold Hearing (if reg'd vehicle)                                          Sep 28, 2018
    924
    925                                                                                                Current Name (Last, First, Ml)           Current Address               Current City
|
926 7 Day Sticker Date Applied SEP 18, 2018
|
927 License plate expiration (MM/YYYY) 05/2019
|
928 SST# 1800406370
|
929 State that issued license plate Illinois
|
930 Tag expiration (MM/YYYY)
|
931 Vehicle license plate number
|
932 Vehicle Make/Model Volvo
|
933 Vehicle Tag Number
|
934 Vehicle Year 1992
|
935 What city issued vehicle tag number?
    936
    937

|
938 18-02386497
                                          Status       |Location           Created Date
|
940 18-02386497 Abandoned Vehicle |Open {3024 E 81ST ST Aug 14, 2018 Hold Hearing (if reg'd vehicle)                                            Sep 27, 2018
    941
    942                                                                                                Current Name (Last, First, Ml)           Current Address               Current City
|
943 7 Day Sticker Date Applied SEP 17, 2018
|
944 License plate expiration (MM/YYYY) 06/2019
|
945 SST# 1800406349
|
946 State that issued license plate Illinois
|
947 Tag expiration (MM/YYYY)
|
948 Vehicle license plate number
|
949 Vehicle Make/Model Chrysler
|
950 Vehicle Tag Number
|
951 Vehicle Year 2000
|
952 What city issued vehicle tag number?
    953
    954

|
955 18-02387369
                                          Status       |Location           Created Date
|
957 |18-02387369 Abandoned Vehicle }Open {853 W 80TH ST Aug 14, 2018 Hold Hearing (if reg'd vehicle)                                            Sep 26, 2018
    958
959                                                                                                    Current Name(Last, First, Ml)            eee                           Current City
|
960 7 DaySticker Date Applied SEP 14, 2018
|
961 License plate expiration (MM/YYYY) 10/2018
|
962 SST# 1800406320
|
963 State that issued license plate Illinois

                                                                                                  one




  CONFIDENTIAL                                                                                                                                                                               C063204
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CONFIDENTIAL                                                                                        C063205
                                                      Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 37 of 66 PageID #:1482
            Hy            B          |         Cc         [pd      ]                  E             F      [     c    |             H                      |           J      K       L
|
964 Tag expiration (MM/YYYY)
|
965 Vehicle license plate number fF
|
966 Vehicle Make/Model Ford
967
|   Vehicle Tag Number
|
968 Vehicle Year 2007
|
969 What city issued vehicle tag number?
     970
     971

972 18-02387444
|
                                                          Status       |Location            Created Date
|
974 |18-02387444 Abandoned Vehicle |Open {5123 N DELPHIA AVE Aug 14, 2018 Hold Hearing (if reg'd vehicle)                                                      Sep 24, 2018
     975
     976                                                                                                                  Current Name (Last, First, Ml)       ere css            erence
|
977 7 Day Sticker Date Applied SEP 12, 2018
|
978 License plate expiration (MM/YYYY) 12/2018
|
979 SST# 1800406191
|
980 State that issued license plate Illinois
|
981 Tag expiration (MM/YYYY)
|
982 Vehicle license plate number |
|
983 Vehicle Make/Model Dodge
984
|   Vehicle Tag Number
|
985 Vehicle Year 2008
986
|   What city issued vehicle tag number?
     987
     988

|
9s9 18-02387955
             Service Request N| Type                      Status       {Location            Created Date
|
991 |18-02387955 Abandoned Vehicle }Open {1917 W GEORGE ST Aug 14, 2018 Hold Hearing (if reg'd vehicle)                                                        Sep 28, 2018
     992
993                                                                                                                       Current Name (Last, First, Ml)       eis                eee
|
994 7 Day Sticker Date Applied SEP 18, 2018
|
995 License plate expiration (MM/YYYY)
|
996 SST# 1800406386
|
997 State that issued license plate New York
998
|   Tag expiration (MM/YYYY)
999
|   Vehicle license plate number
    1000]        Vehicle Make/Model                                    Mazda
    1001]        Vehicle Tag Number
    1002]        Vehicle Year                                          2015
    1003]        What city issued vehicle tag number?
    1004
    1005

    1006]        18-02389417
                                                          Status       |Location            Created Date
    1008]        |18-02389417         Abandoned Vehicle   |Open        [5614 S ALBANY AVE   Aug 14, 2018       Hold Hearing (if reg'd vehicle)                 Oct 01, 2018
    1009
    1010                                                                                                                  eee            ees a)                eee                eee
    1011]        7 Day Sticker Date Applied                            SEP 19, 2018
    1012]        License plate expiration (MM/YYYY)                    07/2019
    1013]        SST#                                                  1800406437
    1014]        State that issued license plate                       Oregon
    1015}        Tag expiration (MM/YYYY)
    1016] Vehicle license plate number                             fF
    1017]        Vehicle Make/Model                                    Ford
    1018]        Vehicle Tag Number
    1019]        Vehicle Year                                          1997
    1020]        What city issued vehicle tag number?

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  CONFIDENTIAL                                                                                                                                                                             C063206
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CONFIDENTIAL                                                                                        C063207
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            18-02389767
                                                     Status   |Location            Created Date
    1025]   |18-02389767         Abandoned Vehicle   |Open    {6150 S WHIPPLE ST   Aug 14, 2018   Hold Hearing (if reg'd vehicle)          Oct 03, 2018
    1026
    1027                                                                                                  Current Name (Last, First, Ml)   eres           eee
    1028]   7 Day Sticker Date Applied                        SEP 21, 2018
    1029]   License plate expiration (MM/YYYY)                05/2019
    1030]   SST#                                              1800406504
    1031]   State that issued license plate                   Illinois
    1032]   Tag expiration (MM/YYYY)
    1033]   Vehicle license plate number
    1034]   Vehicle Make/Model                                Mg/Midget
    1035]   Vehicle Tag Number
    1036]   Vehicle Year                                      1976
    1037]   What city issued vehicle tag number?
    1038
    1039

    1040]   18-02391741
|
Status Location Created Date
18-02391741
|           Abandoned Vehicle Open 3736 N ALBANY AVE Aug 14, 2018 Hold Hearing (if reg'd vehicle)                                          Sep 24, 2018


    1044                                                                                                  eI       eek ee a)               eee            eee
    1045]   7 Day Sticker Date Applied                        SEP 12, 2018
    1046]   License plate expiration (MM/YYYY)                03/2019
    1047]   SST#                                              1800406213
    1048]   State that issued license plate                   Illinois
    1049]   Tag expiration (MM/YYYY)
    1050]   Vehicle license plate number
    1051}   Vehicle Make/Model                                Chevrolet
    1052]   Vehicle Tag Number
    1053]   Vehicle Year                                      2004
    1054]   What city issued vehicle tag number?
    1055
    1056

    1057|   18-02394672
                                                     Status   |Location            Created Date
    1059]   |18-02394672         Abandoned Vehicle |Open_|5518 S KENNETH AVE       Aug 15, 2018   Hold Hearing (if reg'd vehicle)          Sep 24, 2018
    1060
    1061                                                                                                  eens)                            erences        ere
    1062]   7 Day Sticker Date Applied                        SEP 12, 2018
    1063]   License plate expiration (MM/YYYY)                05/2019
    1064]   SST#                                              1800406199
    1065]   State that issued license plate                   Illinois
    1066]   Tag expiration (MM/YYYY)
    1067] Vehiclelicenseplate number                          a
    1068]   Vehicle Make/Model                                 mw
    1069]   Vehicle Tag Number
    1070]   Vehicle Year                                      2003
    1071]   What city issued vehicle tag number?
    1072
    1073

    1074)   18-02395472
                                                     Status   |Location            Created Date
|
1076 18-02395472 Abandoned Vehicle Open 5231 S PULASKI RD Aug 15, 2018 Hold Hearing (if reg'd vehicle)                                     Sep 21, 2018


                                                                                                       one




  CONFIDENTIAL                                                                                                                                                  C063208
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CONFIDENTIAL                                                                                        C063209
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            Hy            B          |          C         |                       E        |           F      |     Gc    |             H           |          I   |           J         |   K   |           L
    1077
    1078                                                                                                                      Current Name(Last, First, Ml)            ieee                          eres
    1079]        7 DaySticker Date Applied                         SEP 11, 2018
    1080]        License plate expiration (MM/YYYY)                05/2019
    1081]        SST#                                              1800406171
    1082]        State that issued license plate                   Illinois
    1083]        Tag expiration (MM/YYYY)
    1084]        Vehicle license plate number
    1085]        Vehicle Make/Model                                  onda

    1086]        Vehicle Tag Number
    1087]        Vehicle Year                                      2006
    1088]        What city issued vehicle tag number?




    1091]        18-02397448
                                                          Status   |Location                   Created Date
|
1093] 18-02397448 Abandoned Vehicle }Open {4025 S KEELER AVE Aug 15, 2018 Hold Hearing (if reg'd vehicle)                                                              Sep 25, 2018
    1094
    1095
    1096]        7 DaySticker Date Applied                         SEP 13, 2018


    1098]        SST#                                              1800406242
    1099]        State that issued license plate                   Illinois
    1100]        Tag expiration (MM/YYYY)
    1101]        Vehicle license plate number
    1102]        Vehicle Make/Model                                Hyundai
    1103]        Vehicle Tag Number
    1104]        Vehicle Year                                      2012
    1105]        What city issued vehicle tag number?




    1108|        18-02397766
|
Status Location Created Date
    1110]        |18-02397766         Abandoned Vehicle   |Open    {155 W 81ST ST              Aug 15, 2018       Hold Hearing (if reg'd vehicle)                      Oct 02, 2018
    1111
    1112]        Eeeaeliesireya)                                   aI ee ii:ls                                                Current Name (Last, First, Ml)           Current Address               Current City
    1113]        7 Day Sticker Date Applied                        SEP 20, 2018
    1114]        License plate expiration (MM/YYYY)                10/2018
    1115|        SST#                                              1800406471
    1116]        State that issued license plate                   Illinois
    1117]        Tag expiration (MM/YYYY)
    1118]        Vehicle license plate number
    1119]        Vehicle Make/Model                                Nissan
    1120]        Vehicle Tag Number
    1121]        Vehicle Year                                      2004
    1122]        What city issued vehicle tag number?




    1125|        18-02397800
                                                          Status   |Location                   Created Date
    1127]        |18-02397800         Abandoned Vehicle   |Open    {3653 N SPAULDING AVE       Aug 15, 2018       Hold Hearing (if reg'd vehicle)                      Sep 24, 2018
    1128
    1129                                                                                                                      ITER)                                    eres                          emer
    1130]        7 Day Sticker Date Applied                        SEP 12, 2018


    1132]        SST#                                              1800406217
    1133]        State that issued license plate                   Illinois

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  CONFIDENTIAL                                                                                                                                                                                                      C063210
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CONFIDENTIAL                                                                                        C063211
                                                   Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 43 of 66 PageID #:1488
          W            B          |          C
              Tag expiration (MM/YYYY)
              Vehicle license plate number
              Vehicle Make/Model                                Mitsubishi
              Vehicle Tag Number
              Vehicle Year                                      2003
              What city issued vehicle tag number?




              18-02400685
          Service Request N| Type                      Status   |Location              Created Date
  1144]       |18-02400685         Abandoned Vehicle }Open      {1024 S MONITOR AVE    Aug 15, 2018   Hold Hearing (if reg'd vehicle)   Sep 28, 2018
  1145
  1446
  1147]       7 Day Sticker Date Applied                        SEP 18, 2018


  1149]       SST#                                              1800406368
  1150]       State that issued license plate                   Illinois
  1151]       Tag expiration (MM/YYYY)
  1152] Vehicle license plate number                            m7
  1153]       Vehicle Make/Model                                Mitsubishi
  1154]       Vehicle Tag Number
  1155]       Vehicle Year                                      2003
  1156]       What city issued vehicle tag number?
  1157
  1158

  1159]       18-02401598
|
Service Request N| Type Status Location Created Date
  1161]       |18-02401598         Abandoned Vehicle   |Open    {2625 W 58TH ST        Aug 15, 2018   Hold Hearing (if reg'd vehicle)   Sep 21, 2018
  1162
  1163
  1164]       7 Day Sticker Date Applied                        SEP 11, 2018


  1166]       SST#                                              1800406167
  1167]       State that issued license plate                   Illinois
  1168]       Tag expiration (MM/YYYY)
  1169]       Vehicle license plate number                      |
  1170]       Vehicle Make/Model                                Chevrolet
  1171]       Vehicle Tag Number
  1172]       Vehicle Year                                      2005
  1173]       What city issued vehicle tag number?
  1174
  1175

  1176]       18-02403868
|
Service Request N| Type Status Location Created Date
  1178]       |18-02403868         Abandoned Vehicle |Open_     {4411 W LAWRENCE AVE   Aug 16, 2018   Hold Hearing (if reg'd vehicle)   Sep 28, 2018
  1179
  1180
  1181]       7 Day Sticker Date Applied                        SEP 18, 2018
  1182]       License plate expiration (MM/YYYY)                04/2019
  1183]       SST#                                              1800406364
  1184]       State that issued license plate                   Illinois
  1185]       Tag expiration (MM/YYYY)
  1186]       Vehicle license plate number                      PY
  1187]       Vehicle Make/Model                                Toyota
  1188]       Vehicle Tag Number
  1189]       Vehicle Year                                      2002
  1190]       What city issued vehicle tag number?

                                                                                                           one




 CONFIDENTIAL                                                                                                                                          C063212
                                   Case: 1:19-cv-04652 Document #: 115-10 Filed: 12/14/21 Page 44 of 66 PageID #:1489




     Current State ( Current Zip




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CONFIDENTIAL                                                                                                            C063213
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              18-02408592
                                                        Status   |Location              Created Date
     1195]    |18-02408592         Abandoned Vehicle    |Open    |900 N ELSTON AVE      Aug 16, 2018   Hold Hearing (if reg'd vehicle)          Oct 05, 2018
     1196
     sukeya   Flex Question                                      Text Answer                                   Current Name (Last, First, Ml)   Current Address   Current City
              7 Day Sticker Date Applied                         SEP 25, 2018
              License plate expiration (MM/YYYY)                 06/2019                                       ANONYMOUS ANONYMOUS
              SST#                                               1800406565
              State that issued license plate                    Illinois
              Tag expiration (MM/YYYY)
              Vehicle license plate number                       fF
              Vehicle Make/Model                                 Ford
              Vehicle Tag Number
              Vehicle Year                                       2014
              What city issued vehicle tag number?




              18-02412329
                                                        Status   |Location              Created Date
     1212]    |18-02412329         [Abandoned Vehicle   |Open_   {1614 W CHASE AVE      Aug 16, 2018   Hold Hearing (if reg'd vehicle)          Oct 05, 2018
     1213
     1214                                                                                                      en               ea)             meee              Current City
     1215]    7 Day Sticker Date Applied                         SEP 25, 2018


     1217|    SST#                                               1800406561
     1218]    State that issued license plate                    Illinois
     1219]    Tag expiration (MM/YYYY)
     1220]    Vehicle license plate number                       PY
     1221]    Vehicle Make/Model                                 Lincoln
     1222]    Vehicle Tag Number
     1223]    Vehicle Year                                       1986
     1224]    What city issued vehicle tag number?
     1225
     1226

     1227)    18-02421353
|
Status Location Created Date
|
1229] 18-02421353 Abandoned Vehicle |Open {4536 N CENTRAL PARK AVE |Aug 17, 2018 Hold Hearing (if reg'd vehicle)                                Oct 04, 2018
     1230
     1231
                                                                                                               Current Name (Last, First, Ml)   Current Address   Current City
     1232|    7 Day Sticker Date Applied                         SEP 24, 2018
     1233]    License plate expiration (MM/YYYY)                 06/2019
     1234]    SST#                                               1800406532
     1235]    State that issued license plate                    Illinois
     1236]    Tag expiration (MM/YYYY)
     1237]    Vehicle license plate number                       FY
     1238]    Vehicle Make/Model                                 General Motors Corp.
     1239]    Vehicle Tag Number
     1240]    Vehicle Year                                       2000
     1241]    What city issued vehicle tag number?
     1242
     1243

     1244]    18-02421660
|
Status Location Created Date
              18-02421660          Abandoned Vehicle    {Open    |6140 N ARTESIAN AVE   Aug 17, 2018   Hold Hearing (if reg'd vehicle)          Sep 26, 2018


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  CONFIDENTIAL                                                                                                                                                                   C063214
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CONFIDENTIAL                                                                                        C063215
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         HY            B          |          Cc        |                       E         |           F       Lc     ]             H            |         ]   |           J         |   K   |           L
 1247
 1248
 1249|        7 DaySticker Date Applied                         SEP 14, 2018


 1251]        SST#                                              1800406302
 1252]        State that issued license plate                   Illinois
 1253]        Tag expiration (MM/YYYY)
 1254] Vehicle license plate number                             Po
 1255]        Vehicle Make/Model                                Chevrolet
 1256]        Vehicle Tag Number
 1257]        Vehicle Year                                      1999
 1258]        What city issued vehicle tag number?
 1259
 1260

 1261]        18-02424987
                                                       Status   |Location                    Created Date
 1263]        |18-02424987         Abandoned Vehicle {Open      |6037 N HERMITAGE AVE        Aug 18, 2018    Hold Hearing (if reg'd vehicle)                     Sep 28, 2018
 1264
 1265                                                                                                                   Current Name (Last, First, Ml)           Current Address               Current City
 1266]        7 DaySticker Date Applied                         SEP 18, 2018
 1267]        License plate expiration (MM/YYYY)                02/2019
 1268]        SST#                                              1800406367
 1269]        State that issued license plate                   Illinois
 1270]        Tag expiration (MM/YYYY)
 1271]        Vehicle license plate number
 1272]        Vehicle Make/Model                                Volkswagen
 1273]        Vehicle Tag Number
 1274]        Vehicle Year                                      1998
 1275]        What city issued vehicle tag number?
 1276
 1277

 1278|        18-02439506
                                                       Status   |Location                    Created Date
 1280]        |18-02439506         Abandoned Vehicle }Open      {6109 NMAPLEWOOD AVE _       |Aug 20, 2018   Hold Hearing (if reg'd vehicle)                     Sep 27, 2018
 1281
 1282                                                                                                                   eens)                                    eee                           Current City
 1283]        7 Day Sticker Date Applied                        SEP 17, 2018
 1284]        License plate expiration (MM/YYYY)                01/2019
 1285|        SST#                                              1800406343
 1286]        State that issued license plate                   Illinois
 1287|        Tag expiration (MM/YYYY)
 1288]        Vehicle license plate number                      |S
 1289]        Vehicle Make/Model                                Chevrolet
 1290]        Vehicle Tag Number
 1291]        Vehicle Year                                      1996
 1292]        What city issued vehicle tag number?
 1293
 1294

 1295]        18-02443917
|
Status Location Created Date
              18-02443917          Abandoned Vehicle   |Open_   {5714 N KEYSTONE AVE         Aug 20, 2018    Hold Hearing (if reg'd vehicle)                     Sep 28, 2018


              Flex Question                                     By Cw \(-lg                                             Current Name (Last, First, Ml)           Current Address               Current City
 1300]        7 Day Sticker Date Applied                        SEP 18, 2018
 1301]        License plate expiration (MM/YYYY)                08/2018                                                 ANON
 1302]        SST#                                              1800406366
 1303]        State that issued license plate                   Illinois

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CONFIDENTIAL                                                                                                                                                                                                  C063216
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     Current State ‘ Current Zip




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CONFIDENTIAL                                                                                                            C063217
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            Hy            B          |          Cc      [pd      ]                  E               F      [     c    |           H              |           J      K   L
    1304]        Tag expiration (MM/YYYY)
    1305]        Vehicle license plate number                    swiclom
    1306]        Vehicle Make/Model                                    iodge
    1307]        Vehicle Tag Number
    1308]        Vehicle Year                                        2005
    1309]        What city issued vehicle tag number?
    1310
    1311

    1312|        18-02444227
                                                        Status       |Location              Created Date
    1314]        |18-02444227         Abandoned Vehicle }Open        {3712 W DOUGLAS BLVD   Aug 20, 2018       Hold Hearing (if reg'd vehicle)       Oct 05, 2018
    1315
    1316
    1317]        7 Day Sticker Date Applied                          SEP 25, 2018

    1318] License plate expiration (MMIYYYY)                         03/2019
    1319]        SST#                                                1800406567
    1320]        State that issued license plate                     Illinois
    1321]        Tag expiration (MM/YYYY)
    1322]        Vehicle license plate number
    1323]        Vehicle Make/Model                                  Chevrolet
    1324]        Vehicle Tag Number
    1325]        Vehicle Year                                        2011
    1326]        What city issued vehicle tag number?
    1327
    1328

    1329]        18-02445288
             Service Request Nj Type                    Status       |Location              Created Date
|
1331 |18-02445288 Abandoned Vehicle |Open {5954 W SCHUBERT AVE Aug 20, 2018 Hold Hearing (if reg'd vehicle)                                          Sep 28, 2018
    1332
    1333
    1334]        7 Day Sticker Date Applied                          SEP 18, 2018


    1336]        SST#                                                1800406375
    1337]        State that issued license plate                     Illinois
    1338]        Tag expiration (MM/YYYY)
    1339]        Vehicle license plate number                    fo
    1340]        Vehicle Make/Model                                  Mercury
    1341]        Vehicle Tag Number
    1342]        Vehicle Year                                        20
    1343]        What city issued vehicle tag number?
    1344
    1345

    1346|        18-02454590
|
Status Location Created Date
    1348]        |18-02454590         [Abandoned Vehicle }Open_|1908 W FLETCHER ST          Aug 21, 2018       Hold Hearing (if reg'd vehicle)       Oct 05, 2018
    1349
    1350
    1351]        7 Day Sticker Date Applied                          SEP 25, 2018


    1353]        SST#                                                1800406579
    1354]        State that issued license plate                     Illinois
    1355]        Tag expiration (MM/YYYY)
    1356]        Vehicle license plate number                    Ps
    1357]        Vehicle Make/Model                                  Chevrolet
    1358]        Vehicle Tag Number
    1359]        Vehicle Year                                        2014
    1360]        What city issued vehicle tag number?
                                                                                                                     one




  CONFIDENTIAL                                                                                                                                                              C063218
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CONFIDENTIAL                                                                                        C063219
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    1363|   18-02456387
                                                   Status   {Location                Created Date
    1365]   |18-02456387         Abandoned Vehicle |Open    {4021 NSACRAMENTO AVE_   |Aug 21, 2018   Hold Hearing (if reg'd vehicle)          Oct 05, 2018
    1366
    1367                                                                                                     eee)                             Smee              CEES
    1368]   7 Day Sticker Date Applied                      SEP 25, 2018


    1370]   SST#                                            1800406575
    1371]   State that issued license plate                 Illinois
    1372]   Tag expiration (MM/YYYY)
    1373]   Vehicle license plate number                    |
    1374]   Vehicle Make/Model                              Chevrolet
    1375]   Vehicle Tag Number
    1376]   Vehicle Year                                    2002
    1377]   What city issued vehicle tag number?
    1378
    1379

    1380|   18-02458717
                                                   Status   |Location                Created Date
|
1382] 18-02458717 [Abandoned Vehicle |Open |1054 W LOYOLA AVE Aug 22, 2018 Hold Hearing (if reg'd vehicle)                                    Oct 05, 2018
    1383
    1384                                                                                                     Current Name (Last, First, Ml)   Current Address   Current City
    1385]   7 Day Sticker Date Applied                      SEP 25, 2018
    1386]   License plate expiration (MM/YYYY)              11/2018
    1387]   SST#                                            1800406559
    1388]   State that issued license plate                 Illinois
    1389]   Tag expiration (MM/YYYY)
    1390]   Vehicle license plate number
    1391]   Vehicle Make/Model                              Mercedes
    1392]   Vehicle Tag Number
    1393]   Vehicle Year                                    2003
    1394]   What city issued vehicle tag number?




    1397|   18-02461299
                                                   Status   |Location                Created Date
    1399]   |18-02461299         Abandoned Vehicle |Open_|2340 N MCVICKER AVE        Aug 22, 2018    Hold Hearing (if reg'd vehicle)          Oct 04, 2018
    1400
    1401                                                                                                     Current Name (Last, First, Ml)   eres              re
    1402]   7 DaySticker Date Applied                       SEP 24, 2018
    1403| License plate expiration (MM/YYYY)                01/2019                                          Ps
    1404]   SST#                                            1800406518
    1405]   State that issued license plate                 Illinois
    1406]   Tag expiration (MM/YYYY)
    1407] Vehicle license plate number                      PY
    1408]   Vehicle Make/Model                              Honda
    1409]   Vehicle Tag Number
    1410]   Vehicle Year                                    1996
    1411]   What city issued vehicle tag number?
    1412
    1413

    1414|   18-02463340
                                                   Status   {Location                Created Date
|
1416] 18-02463340 Abandoned Vehicle |Open |4425 W SCHOOL ST Aug 22, 2018 Hold Hearing (if reg'd vehicle)                                      Sep 28, 2018


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  CONFIDENTIAL                                                                                                                                                                 C063220
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CONFIDENTIAL                                                                                        C063221
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          n            B                     C         [pb      |                  E       |           F      |     G    |
  1417
  1418                                                                                                                       eee               a)             eine              Current City
  1419]       7 Day Sticker Date Applied                            SEP 18, 2018
  1420]       License plate expiration (MM/YYYY)                    05/2019
  1421|       SST#                                                  1800406373
  1422]       State that issued license plate                       Michigan
  1423]       Tag expiration (MM/YYYY)
f
1424] Vehicle license plate number
  1425]       Vehicle Make/Model                                    Dodge
  1426]       Vehicle Tag Number
  1427]       Vehicle Year                                          2004
  1428]       What city issued vehicle tag number?
  1429
  1430

  1431]       18-02463855
  1432                                                 Status       |Location                  Created Date
  1433]       |18-02463855         Abandoned Vehicle   |Open        |4836 W WEST END AVE       Aug 22, 2018       Hold Hearing (if reg'd vehicle)             Oct 04, 2018
  1434
  1435                                                                                                                       Current Name (Last, First, Ml)   Current Address   Current City
  1436]       7 Day Sticker Date Applied                            SEP 24, 2018
  1437]       License plate expiration (MM/YYYY)                    03/2019
  1438]       SST#                                                  1800406526
  1439]       State that issued license plate                       Illinois
  1440]       Tag expiration (MM/YYYY)
  1441]       Vehicle license plate number                      Fe
  1442]       Vehicle Make/Model                                    Ford
  1443]       Vehicle Tag Number
  1444]       Vehicle Year                                          1994
  1445]       What city issued vehicle tag number?
  1446
  1447

  1448|       18-02471127
  1449                                                 Status       |Location                  Created Date
  1450]       |18-02471127         Abandoned Vehicle }Open          {3636 NOCONTO AVE          Aug 23, 2018       Hold Hearing (if reg'd vehicle)             Oct 05, 2018
  1451
  1452                                                                                                                       Current Name (Last, First, Ml)   Current Address   Current City
  1453]       7 Day Sticker Date Applied                            SEP 25, 2018
  1454]       Licenseplate expiration (MM/YYYY)                     09/2018                                                  eS
  1455|       SST#                                                  1800406562
  1456]       State that issued license plate                       Illinois
  1457|       Tag expiration (MM/YYYY)
  1458]       Vehicle license plate number                      ;
  1459]       Vehicle Make/Model                                    Honda
  1460]       Vehicle Tag Number
  1461]       Vehicle Year                                          1998
  1462]       What city issued vehicle tag number?
  1463
  1464

  1465]       18-02471621
                                                       Status       |Location                  Created Date
  1467]       |18-02471621         Abandoned Vehicle }Open          {4440 W SCHOOL ST          Aug 23, 2018       Hold Hearing (if reg'd vehicle)             Sep 28, 2018
  1468
§
Wiese) Flex Question Text Answer Current Name (Last, First, Ml)                                                                                               Current Address   Current City
  1470]       7 DaySticker Date Applied                             SEP 18, 2018
  1471]       License plate expiration (MM/YYYY)                    07/2019
  1472]       SST#                                                  1800406374
  1473]       State that issued license plate                       Illinois

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 CONFIDENTIAL                                                                                                                                                                                  C063222
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CONFIDENTIAL                                                                                        C063223
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            Hy            B          |          Cc      [pd       ]                  E              F      [     c    |             H                      |           J      K     L
    1474]        Tag expiration (MM/YYYY)
    1475]        Vehicle license plate number                     Po
    1476]        Vehicle Make/Model                                   Suzuki
    1477]        Vehicle Tag Number
    1478]        Vehicle Year                                         2007
    1479]        What city issued vehicle tag number?
    1480
    1481

    1482|        18-02479332
    1483             i                                   Status       |Location             Created Date
|
1484 |18-02479332 Abandoned Vehicle }Open |7940 S PEORIA ST Aug 24, 2018 Hold Hearing (if reg'd vehicle)                                                       Oct 04, 2018
    1485
    1486                                                                                                                  Current Name (Last, First, Ml)       ems                eee
    1487]        7 Day Sticker Date Applied                           SEP 24, 2018
    1488]        License plate expiration (MM/YYYY)                   02/2019
    1489]        SST#                                                 1800406535
    1490]        State that issued license plate                      Illinois
    1491]        Tag expiration (MM/YYYY)
    1492|        Vehiclelicense plate number                      SF
    1493]        Vehicle Make/Model                                   Mitsubishi
    1494]        Vehicle Tag Number
    1495]        Vehicle Year                                         2014
    1496]        What city issued vehicle tag number?
    1497
    1498

    1499]        18-02481204
#
|
shel0}0) Service Request Nj Type Status Location Created Date
|
1501 18-02481204 Abandoned Vehicle }Open {1139 W 95TH ST. Aug 24, 2018 Hold Hearing (if reg'd vehicle)                                                         Oct 05, 2018
    1502
    1503
    1504]        7 Day Sticker Date Applied                           SEP 25, 2018
    1505] License plate expiration (MM/YYYY)                          05/2019
    1506]        SST#                                                 1800406570
    1507]        State that issued license plate                      Illinois
    1508]        Tag expiration (MM/YYYY)
    1509]        Vehicle license plate number                         Fe
    1510]        Vehicle Make/Model                                   Buick
    1511]        Vehicle Tag Number
    1512]        Vehicle Year                                         1995
    1513]        What city issued vehicle tag number?
    1514
    1515

    1516|        18-02483036
    1517             i                                   Status       |Location             Created Date
    1518]        |18-02483036         [Abandoned Vehicle }Open        {5947 N RICHMOND ST   Aug 24, 2018       Hold Hearing (if reg'd vehicle)                 Oct 04, 2018
    1519
    1520
    1521]        7 Day Sticker Date Applied                           SEP 17, 2018
    1522]        License plate expiration (MM/YYYY)                   08/2019                                             CALLER REFUSED INFO.

    1523] SsT#                                                        te00406344                                       Se
    1524]        State that issued license plate                      Illinois
    1525]        Tag expiration (MM/YYYY)
    1526]        Vehicle license plate number                         crime
    1527]        Vehicle Make/Model                                     adillac
    1528]        Vehicle Tag Number
    1529]        Vehicle Year                                         1968

    1530]        What city issued vehicle tag number?
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  CONFIDENTIAL                                                                                                                                                                          C063224
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    1531
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    1533       18-02486041
    1534                                               Status   |Location                  Created Date
|
1535] 18-02486041 Abandoned Vehicle }Open {4107 N BELL AVE Aug 24, 2018 Hold Hearing (if reg'd vehicle)                                            Oct 04, 2018
    1536
    1537                                                                                                          eee)                             meee              Current City
    1538]      7 Day Sticker Date Applied                       SEP 24, 2018
    1539]      License plate expiration (MM/YYYY)               05/2019                                           ANON

    1540] ssTa                                                  1800406520                                       SS
    1541]      State that issued license plate                  Illinois
    1542]      Tag expiration (MM/YYYY)
    1543]      Vehicle license plate number                     P|
    1544]      Vehicle Make/Model                               Audi
    1545]      Vehicle Tag Number
    1546]      Vehicle Year                                     2007
    1547]      What city issued vehicle tag number?
    1548
    1549

    1550]      18-02499171
|
1551 Status Location Created Date
    1552]      |18-02499171         [Abandoned Vehicle }Open    {8438 S HONORE ST          Aug 27, 2018   Hold Hearing (if reg'd vehicle)          Oct 05, 2018
    1553
    1554                                                                                                          Current Name (Last, First, Ml)   meee              Current City
    1555|      7 DaySticker Date Applied                        SEP 25, 2018
    1556] License plate expiration (MMIYYYY)                    09/2018                                           ee
    1557|      SST#                                             1800406573
    1558]      State that issued license plate                  Illinois
    1559       Tag expiration (MM/YYYY)
    1560       Vehicle license plate number
    1561       Vehicle Make/Model                               Jeep - Year Greater 1988
    1562       Vehicle Tag Number
    1563       Vehicle Year                                     1997
    1564       What city issued vehicle tag number?
    1565
    1566

    1567       18-02501614
                                                       Status   |Location                  Created Date
    1569]      |18-02501614         Abandoned Vehicle |Open     {625 W PATTERSON AVE       Aug 27, 2018   Hold Hearing (if reg'd vehicle)          Oct 02, 2018
    1570
    sbeyA@ie   Flex Question                                    Text Answer                                       Current Name (Last, First, Ml)   Current Address   Current City
    1572|      7 Day Sticker Date Applied                       SEP 20, 2018
    1573]      License plate expiration (MM/YYYY)
    1574]      SST#                                             1800406461                                        ANONYMOUS 1465E
    1575       State that issued license plate                  Pennsylvania
    1576       Tag expiration (MM/YYYY)
    1577       Vehicle license plate number
    1578       Vehicle Make/Model                               Harley-Davidson
    1579       Vehicle Tag Number
    1580       Vehicle Year                                     1197
    1581       What city issued vehicle tag number?
    1582
    1583

    1584       18-02502436
                                                       Status   |Location                  Created Date
|
1586 18-02502436 [Abandoned Vehicle Open 9216 S LOWE AVE Aug 27, 2018 Hold Hearing (if reg'd vehicle)                                              Oct 05, 2018


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  CONFIDENTIAL                                                                                                                                                                      C063226
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CONFIDENTIAL                                                                                        C063227
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            Hy            B          |          Cc        |     Dd     |                  E         |           F      Lc     |             H            |         |           J         |   K   |           L
    1587
    1588
    1589]        7 Day Sticker Date Applied                                SEP 25, 2018
    1590]        License plate expiration (MM/YYYY)                        12/2019                                                ANONYMOUS ANONYMOUS
    1591] SST#                                                             1800406569                                             ee
    1592]        State that issued license plate                           Illinois
    1593]        Tag expiration (MM/YYYY)
    1594]        Vehicle license plate number
    1595]        Vehicle Make/Model                                        Buick
    1596]        Vehicle Tag Number
    1597]        Vehicle Year                                              1964
    1598]        What city issued vehicle tag number?
    1599
    1600

    1601)        18-02510170
|
Status Location Created Date
    1603]        |18-02510170         Abandoned Vehicle }Open              {5480 S HYDE PARK BLVD       Aug 28, 2018   Hold Hearing (if reg'd vehicle)                 Oct 04, 2018
    1604
    1605
    1606]        7 DaySticker Date Applied                                 SEP 24, 2018
    1607]        License plate expiration (MM/YYYY)                        11/2018                                                ANON


    1609]        State that issued license plate                           lowa
    1610]        Tag expiration (MM/YYYY)
    1611]        Vehicle license plate number                          Pe
    1612]        Vehicle Make/Model                                        Infiniti/M30
    1613]        Vehicle Tag Number
    1614]        Vehicle Year                                              2006
    1615]        What city issued vehicle tag number?
    1616
    1617

    1618|        18-02512424
|
Status Location Created Date
_
1620] |18-02512424 Abandoned Vehicle }Open {6215 S WASHTENAW AVE |Aug 28, 2018 Hold Hearing (if reg'd vehicle)                                                         Oct 05, 2018
    1621
    1622                                                                                                                          Current Name (Last, First, Ml)       Current Address               Current City
    1623]        7 Day Sticker Date Applied                                SEP 25, 2018
    1624]        License plate expiration (MM/YYYY)                        02/2019
    1625]        SST#                                                      1800406572
    1626]        State that issued license plate                           Illinois
    1627|        Tag expiration (MM/YYYY)
    1628]        Vehicle license plate number                              ha
                 Vehicle Make/Model                                        (Unlisted Make)
                 Vehicle Tag Number
                 Vehicle Year                                              2012
                 What city issued vehicle tag number?




                 18-02517736
                                                              Status       |Location                    Created Date
                 18-02517736          Abandoned Vehicle       {Open        |2823 N MONT CLARE AVE       Aug 29, 2018   Hold Hearing (if reg'd vehicle)                 Sep 20, 2018


                 Flex Question                                             Text Answer                                            Current Name (Last, First, Ml)       Current Address               Current City
                 7 Day Sticker Date Applied                                SEP 10, 2018
                 License plate expiration (MM/YYYY)                        09/2018
                 SST#                                                      1800406137
                 State that issued license plate                           Illinois

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  CONFIDENTIAL                                                                                                                                                                                                      C063228
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 its¥74 Current State ‘ Current Zip




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                     B          |          C         |
    1644    Tag expiration (MM/YYYY)
    1645    Vehicle license plate number
    1646    Vehicle Make/Model                                    Kia Motors Corp
    1647    Vehicle Tag Number
    1648]   Vehicle Year                                          2002
    1649]   What city issued vehicle tag number?
    1650
    1651

    1652)   18-02517940
    1653                                                 Status   |Location                  Created Date
|
1654 |18-02517940 Abandoned Vehicle }Open {607 W OAKDALE AVE Aug 29, 2018 Hold Hearing (if reg'd vehicle)                                            Sep 20, 2018
    1655
    1656                                                                                                            Current Name (Last, First, Ml)   ems               Current City
    1657|   7 Day Sticker Date Applied                            SEP 10, 2018
    1658]   License plate expiration (MM/YYYY)                    05/2019
    1659|   SST#                                                  1800406115
    1660]   State that issued license plate                       Illinois
    1661]   Tag expiration (MM/YYYY)
    1662]   Vehicle license plate number
    1663]   Vehicle Make/Model                                    Jeep - Year Greater 1988
    1664]   Vehicle Tag Number
    1665]   Vehicle Year                                          2013
    1666]   What city issued vehicle tag number?
    1667
    1668

    1669|   18-02520440
|
Service Request N| Type Status Location Created Date
    1671]   |18-02520440         Abandoned Vehicle       |Open    |8628 W CATHERINE AVE      Aug 29, 2018   Hold Hearing (if reg'd vehicle)          Oct 03, 2018
    1672
    1673                                                                                                            eee             aA               erates            Current City
    1674]   7 Day Sticker Date Applied                            SEP 21, 2018
    1675]   License plate expiration (MM/YYYY)                    12/2018
    1676]   SST#                                                  1800406490
    1677]   State that issued license plate                       Illinois
    1678]   Tag expiration (MM/YYYY)
    1679]   Vehicle license plate number                          |
    1680]   Vehicle Make/Model                                    Toyota
    1681]   Vehicle Tag Number
    1682]   Vehicle Year                                          2011
    1683]   What city issued vehicle tag number?
    1684
    1685

    1686|   18-02529042
|
Status Location Created Date
|
1688] |18-02529042 [Abandoned Vehicle }Open 2237 W FLETCHER ST Aug 30, 2018 Hold Hearing (if reg'd vehicle)                                          Oct 05, 2018
    1689
§
sKstele] Flex Question MwA (le Current Name (Last, First, Ml)                                                                                        Current Address   Current City
    1691]   7 Day Sticker Date Applied                            SEP 25, 2018
    1692]   License plate expiration (MM/YYYY)                    10/2018
    1693]   SST#                                                  1800406578
    1694]   State that issued license plate                       Illinois
    1695]   Tag expiration (MM/YYYY)
    1696]   Vehicle license plate number
    1697]   Vehicle Make/Model                                    Chevrolet
    1698]   Vehicle Tag Number
    1699]   Vehicle Year                                          2015

    1700}   What city issued vehicle tag number?
                                                                                                                 Oo ne




  CONFIDENTIAL                                                                                                                                                                        C063230
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CONFIDENTIAL                                                                                        C063231
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    1701
    1702

    1703    18-02530522
    1704                                            Status   |Location               Created Date
    1705]   |18-02530522         Abandoned Vehicle |Open_    {2210 N LECLAIRE AVE    Aug 30, 2018   Hold Hearing (if reg'd vehicle)   Sep 20, 2018
    1706
    1707                                                                                                    eee)                      meee           Current City
    1708]   7 Day Sticker Date Applied                       SEP 10, 2018
    1709] License plate expiration (MM/YYYY)                 04/2019                                        ee
    1710]   SST#                                             1800406120
    1711]   State that issued license plate                  Illinois
    1712]   Tag expiration (MM/YYYY)
    1713]   Vehicle license plate number                     |
    1714]   Vehicle Make/Model                               Mitsubishi
    1715]   Vehicle Tag Number
    1716]   Vehicle Year                                     1999
    1717]   What city issued vehicle tag number?
    1718
    1719

    1720|   18-02531345
    1721                                            Status   |Location               Created Date
    1722]   |18-02531345         [Abandoned Vehicle }Open    {5531 S SPAULDING AVE   Aug 30, 2018   Hold Hearing (if reg'd vehicle)   Sep 20, 2018
    1723
    1724                                                                                                    eA                        Smee           Current City
    1725|   7 Day Sticker Date Applied                       SEP 10, 2018
    1726]   License plate expiration (MM/YYYY)               05/2019                                       eC
    1727|   SST#                                             1800406127
    1728]   State that issued license plate                  Illinois
    1729]   Tag expiration (MM/YYYY)
    1730]   Vehicle license plate number
    1731]   Vehicle Make/Model                               Chrysler
    1732]   Vehicle Tag Number
    1733]   Vehicle Year                                     2005
    1734]   What city issued vehicle tag number?
    1735
    1736

    1737)   18-02532678
|
Status Location Created Date
    1739]   |18-02532678         Abandoned Vehicle |Open_|4527 N CHRISTIANA AVE      Aug 30, 2018   Hold Hearing (if reg'd vehicle)   Oct 04, 2018
    1740
    1744
    1742|   7 Day Sticker Date Applied                       SEP 24, 2018
    1743] License plate expiration (MMIYYYY)                 06/2019                                       a
    1744]   SST#                                             1800406531
    1745]   State that issued license plate                  Illinois
    1746]   Tag expiration (MM/YYYY)
    1747]   Vehicle license plate number
    1748]   Vehicle Make/Model                                 onda
    1749]   Vehicle Tag Number
    1750]   Vehicle Year                                     2005
    1751|   What city issued vehicle tag number?
    1752
    1753

    1754)   18-02532934
|
Status Location Created Date
|
1756 18-02532934 [Abandoned Vehicle Open 3240 W 57TH ST Aug 30, 2018 Hold Hearing (if reg'd vehicle)                                  Sep 20, 2018


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            ni            B          |          Cc        |     D_     |                  E           |           F      |     c    |             H            |         ]   |           J      |   K   |           L
    1757
    1758
    1759]        7 Day Sticker Date Applied                                SEP 10, 2018
    1760] Licenseplate expiration (MM/YYYY)                                09/2018                                                      ee
    1761]        SST#                                                      1800406126
    1762]        State that issued license plate                           Illinois
    1763]        Tag expiration (MM/YYYY)
    1764] Vehicle license plate number                                 Po
    1765]        Vehicle Make/Model                                        Chevrolet
    1766]        Vehicle Tag Number
    1767]        Vehicle Year                                              1998
    1768]        What city issued vehicle tag number?
    1769
    1770

    1771|        18-02534229
    1772             i                                        Status       |Location                      Created Date
    1773]        |18-02534229         Abandoned Vehicle       {Open        |5819 S NAGLE AVE              Aug 30, 2018       Hold Hearing (if reg'd vehicle)                     Sep 20, 2018
    1774
    1775
    1776|        7 DaySticker Date Applied                                 SEP 10, 2018
    1777]        License plate expiration (MM/YYYY)                        07/2019

    ial ss
    1779]        State that issued license plate
                                                                           noo
                                                                           Illinois
                                                                                                                                        Se
    1780]        Tag expiration (MM/YYYY)
    1781]        Vehicle license plate number
    1782]        Vehicle Make/Model                                        Toyota
    1783]        Vehicle Tag Number
    1784]        Vehicle Year                                              1994
    1785]        What city issued vehicle tag number?
    1786
    1787

    1788)        18-02534813
    1789                                                      Status       |Location                      Created Date
    1790]        |18-02534813         Abandoned Vehicle }Open              {6448 N ASHLAND AVE            Aug 30, 2018       Hold Hearing (if reg'd vehicle)                     Oct 03, 2018
    1791
    1792
    1793]        7 Day Sticker Date Applied                                SEP 21, 2018
    1794]        License plate expiration (MM/YYYY)                        06/2019                                                      ANONYMOUS


    1796]        State that issued license plate                           Illinois
    1797|        Tag expiration (MM/YYYY)
    1798]        Vehicle license plate number                              PY
    1799         Vehicle Make/Model                                        Jeep - Year Greater 1988
    1800         Vehicle Tag Number
    1801         Vehicle Year                                              1999
    1802         What city issued vehicle tag number?
    1803
    1804

    1805         18-02538681
|
Status Location Created Date
|
1807] 18-02538681 Abandoned Vehicle }Open {2340 N MOBILE AVE Aug 31, 2018 Hold Hearing (if reg'd vehicle)                                                                        Oct 04, 2018
    1808
    1809                                                                                                                                Current Name (Last, First, Ml)           eee                        Current City
    1810]        7 Day Sticker Date Applied                                SEP 24, 2018
    1811] Licenseplate expiration (MM/YYYY)                                09/2018                                                  a
    1812]        SST#                                                      1800406519
    1813]        State that issued license plate                           Illinois

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  CONFIDENTIAL                                                                                                                                                                                                             C063234
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